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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA,
 United States Department of Justice
 Antitrust Division
 450 Fifth Street NW, Suite 7100
 Washington, DC 20530,

                                  Plaintiff,

                v.

 THALES S.A.                                          Case No.:
 Tour Carpe Diem
 31 Place des Corolles – CS 20001
 92098 Paris La Defense Cedex
 France,

 and

 GEMALTO N.V.
 Barbara Strozzilaan 382
 Amsterdam, The Netherlands
 1083 HN

                                  Defendants.



                                          COMPLAINT

       The United States of America, acting under the direction of the Attorney General of the

United States, brings this civil action to enjoin the acquisition of Gemalto N.V. (Gemalto) by

Thales S.A. (Thales) and to obtain other equitable relief. The United States alleges as follows:

                             I.      NATURE OF THE ACTION

       1.      Thales intends to acquire all of the outstanding ordinary shares of Gemalto for

approximately $5.64 billion. Thales and Gemalto are the world’s leading providers of general
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purpose (GP) hardware security modules (HSMs) and are significant direct competitors in the

United States.

       2.        Organizations, including corporations and governmental agencies, use GP HSMs

to protect their most sensitive data. GP HSMs are hardened, tamper-resistant hardware devices

that strengthen data security by, among other things, making encryption key generation and

management, data encryption and decryption, and digital signature creation and verification

more secure. GP HSMs are used to achieve higher levels of data security and to meet or exceed

established and emerging industry and regulatory standards for cybersecurity.

       3.        Together, Thales and Gemalto dominate the U.S. market for GP HSMs and face

limited competition from a few, much smaller rivals. Thales and Gemalto are each other’s

closest competitors. They compete head-to-head in the development, marketing, service, and

sale of GP HSMs. Thales’ proposed acquisition of Gemalto would eliminate this competition,

resulting in higher prices; lower quality products, support, and service; and reduced innovation.

       4.        Accordingly, the transaction is likely to substantially lessen competition in the

provision of GP HSMs in the United States, in violation of Section 7 of the Clayton Act,

15 U.S.C. § 18, and should be enjoined.

              II.      DEFENDANTS AND THE PROPOSED ACQUISITION

       5.        Thales is an international company incorporated in France with its principal office

in Paris. Thales is active globally in five main industries: (i) aeronautics; (ii) space; (iii) ground

transportation; (iv) defense; and (v) security. In 2017, it had global revenue of approximately

$19.6 billion, operations in fifty-six countries, and approximately 65,100 employees. Thales

eSecurity is a business unit of Thales. Thales eSecurity primarily encompasses three legal

entities: (1) Thales eSecurity Inc. (based in the United States with offices in Plantation, Florida;

San Jose, California; and Boston, Massachusetts), (2) Thales UK Ltd. (based in the United
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Kingdom), and (3) Thales Transport & Security HK Ltd. (based in Hong Kong). Thales

eSecurity specializes in developing, marketing, and selling data security products including but

not limited to GP HSMs, payment HSMs, and encryption and key management software and

hardware. Thales sells GP HSMs to customers worldwide, including government and

commercial organizations throughout the United States, under the brand name nShield. In 2008,

Thales acquired nCipher, a company that specialized in cryptographic security and sold, among

other things, GP HSMs under the brand name nCipher. After that acquisition, Thales changed

the brand name of those GP HSMs to nShield.

       6.      Pursuant to its commitments to the European Commission, entered into on

November 7, 2018, Thales has agreed to divest its nShield business. As part of these

commitments, Thales has separated the nShield business and related assets and personnel from

the rest of its businesses and appointed a hold separate manager whose responsibility it is to

manage the nShield business as a distinct and separate entity from the businesses retained by

Thales until the divestiture is completed. This new business unit is operating under the name

nCipher Security.

       7.      Gemalto is an international digital security company incorporated in the

Netherlands with its principal office in Amsterdam. Gemalto is active globally in providing

authentication and data protection technology, platforms, and services in five main areas:

(i) banking and payment; (ii) enterprise and cybersecurity; (iii) government; (iv) mobile; and

(v) machine-to-machine Internet of Things. In 2017, Gemalto had global revenue of

approximately $3.7 billion, operations in forty-eight countries, and approximately 15,000

employees. Gemalto develops, markets, and sells GP HSMs, as well as other security solutions

and services including but not limited to payment HSMs and encryption and key management



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software and hardware. In the United States, Gemalto sells its products and services primarily

through SafeNet, Inc. (based in Belcamp, Maryland), SafeNet Assured Technologies, LLC

(based in Abingdon, Maryland), and Gemalto Inc. (based in Austin, Texas). Gemalto sells GP

HSMs to customers worldwide, including government and commercial organizations throughout

the United States, under the brand name SafeNet Luna.

       8.          On December 17, 2017, Thales and Gemalto entered into an agreement on a

recommended all-cash offer by Thales to acquire all of the issued and outstanding ordinary

shares of Gemalto for approximately $5.64 billion.

            III.     JURISDICTION, VENUE, AND INTERSTATE COMMERCE

       9.          The United States brings this action under Section 15 of the Clayton Act,

15 U.S.C. § 25, to prevent and restrain Defendants from violating Section 7 of the Clayton Act,

15 U.S.C. § 18. This Court has subject-matter jurisdiction over this action under Section 15 of

the Clayton Act, 15 U.S.C. § 25, and 28 U.S.C. §§ 1331, 1337(a), and 1345.

       10.         Defendants market, sell, and service their products, including their GP HSMs,

throughout the United States and regularly and continuously transact business and transmit data

in connection with these activities in the flow of interstate commerce, which has a substantial

effect upon interstate commerce.

       11.         Defendants consent to personal jurisdiction and venue in this district. This Court

has personal jurisdiction over each Defendant and venue is proper under Section 12 of the

Clayton Act, 15 U.S.C. § 22, and 28 U.S.C. § 1391(b) and (c).

                                IV.     THE RELEVANT MARKET

       A.          Industry Background

       12.         Many U.S. organizations, including commercial enterprises and government

agencies, use, transmit, and maintain sensitive electronic data. The universe of sensitive

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electronic data has been expanding rapidly and relates to a wide range of subjects, such as

personally identifiable information, classified information, health records, financial information,

tax records, trade secrets and other confidential business information, software code, and other

nonpublic information. Access to this data is often critical to an organization’s ability to operate

effectively and efficiently. Inappropriate use, theft, corruption, or disclosure of this data could

result in significant harm to an organization’s customers or constituents and the organization

itself.

          13.    U.S. organizations increasingly rely on encryption as a crucial component of the

security measures implemented to safeguard sensitive data from internal and external threats.

Encryption is a process that converts readable data (plain text) into an unreadable format (cipher

text) using an algorithm and an encryption key. Decryption is the reverse of encryption,

converting cipher text back to plain text. Encryption algorithms are based on highly complex

math and are often standardized and open source. Encryption keys consist of a randomly

generated series of numbers or pairs of randomly generated prime numbers, expressed in bits.

Because encryption algorithms are virtually impossible to decipher using today’s technology,

attackers who want unauthorized access to sensitive data generally focus their efforts on

obtaining private encryption keys instead of trying to break the encryption algorithm directly.

With the right key, an attacker can freely access an organization’s sensitive data. Moreover, a

lost or corrupted key could make encrypted data unrecoverable by the organization.

Organizations therefore must implement processes and products that create, maintain, protect,

and control their encryption keys in a manner that safeguards against improper access or use

while simultaneously ensuring the keys are readily available when required for authorized use.




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       14.     GP HSMs provide the most secure way for organizations to effectively manage

and protect their encryption keys, and many U.S. organizations use them to protect their most

sensitive data. GP HSMs are tamper-resistant hardware environments for secure encryption

processing and key management. GP HSMs provide additional security as compared to

software-based key management solutions because they are isolated from the host information

technology (IT) environment and segregate encryption keys from encrypted data and encryption

applications. GP HSMs also enable organizations to implement strong authentication regimes

for key management administrators that prevent unauthorized access.

       15.     GP HSMs are typically independently validated to confirm they provide a level of

security specified by various standards. Certifications of compliance with these standards

provides assurance to customers that GP HSMs satisfy certain minimum security performance

benchmarks. For example, U.S. GP HSM customers frequently rely on the Federal Information

Processing Standard (FIPS) 140-2 to assess the level of security provided by a particular GP

HSM. FIPS 140-2 is a standard defined by the U.S. National Institute of Standards, which is part

of the U.S. Department of Commerce. The standard is mandatory for U.S. government IT

security systems that use cryptographic modules to protect sensitive but unclassified information.

Commercial enterprises also rely heavily on the standard to assess the security provided by

cryptographic modules. FIPS 140-2 comprises four increasing, qualitative levels of security—

Levels 1 through 4—for cryptographic modules used to protect sensitive information.

Cryptographic modules go through an expensive and time consuming testing process in order to

be validated at a particular FIPS 140-2 level. Although software-only modules can be validated

under FIPS 140-2, due to increasingly stringent security requirements, organizations must use an




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HSM to attain Level 3 security. Thales and Gemalto both provide highly secure GP HSMs that

have been validated at FIPS 140-2, Level 3.

       16.        Thales and Gemalto sell GP HSMs and related services directly to end-user

organizations, to resellers who often combine the GP HSMs with additional security products or

services, and to cloud service providers (CSPs) who then sell GP HSM services, or HSM-as-a-

service (HSMaaS), to their cloud customers. The leading CSPs purchase GP HSMs from third-

party suppliers, including Thales and Gemalto.

       17.        There are, however, many organizations that are reluctant to move their sensitive

data to the cloud and use HSMaaS because of security concerns. These organizations continue to

rely, to at least some degree, on purchasing and using their own GP HSMs to protect their

sensitive data.

       18.        GP HSMs typically must be integrated into or configured to operate within an

organization’s existing IT environment. An organization needs assurance that a GP HSM will be

an effective component of what may be an already complex data security infrastructure. Because

of this, the GP HSM sales process typically includes a comprehensive exchange of information

between the potential customer organization and GP HSM supplier.

       19.        Once an organization has installed a GP HSM into its IT environment and is using

it to protect its keys and to provide a secure data encryption environment, any breakdowns or

malfunctions in the GP HSM could not only compromise the sensitive data but also jeopardize

the organization’s ability to perform day-to-day tasks that are necessary for the organization to

carry out its business. Post-sales customer support and service are therefore essential conduct

carried out by successful GP HSM suppliers. Many customers will not even consider a potential

GP HSM supplier who has not established a strong reputation for providing quality GP HSMs



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and continuous and effective post-sales service and support. Thales and Gemalto both have

strong reputations for high-quality post-sales service and support. Thales and Gemalto provide

this service and support to their direct customers and indirectly to other customers by assisting

their resellers.

        20.        Thales and Gemalto both create and maintain confidential price lists for their

respective GP HSMs, additional GP HSM components and accessories, and services.

Confidential discount rates are then applied to the price list to determine the prices that are

applicable to resellers. Thales and Gemalto authorize, customer-by-customer, confidential

discounts from the prices on the price list, and in the case of resellers, additional discounts to the

discounted prices already available to the reseller. Thales and Gemalto regularly approve

significant discounts on GP HSMs when competing against each other.

        B.         Relevant Market

        21.        GP HSMs are most frequently included as components of complex encryption

solutions used by government and private organizations to safeguard their most sensitive data.

Use of GP HSMs is often specified by regulations, industry standards, or an organization’s

auditors or security policies, or is otherwise deemed necessary to safeguard the organization’s

most sensitive data or provide the organization’s customers or constituents with confidence that

their sensitive data will be adequately protected. Organizations that use GP HSMs have

determined that less expensive alternatives to GP HSMs, such as software-based key

management solutions, provide inadequate security for their most sensitive data. Some

organizations will not even use cloud-based GP HSMaaS, and, if they do, will require an on-

premises GP HSM to provide an additional layer of encryption security for encryption keys

stored in a cloud-based GP HSM. Many customers are unwilling to entrust the protection of

their most sensitive data to HSMaaS provided by a CSP. In order to provide HSMaaS to those
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customers that are willing to outsource at least some their GP HSM needs, CSPs purchase GP

HSMs from the Defendants and the Defendants’ GP HSM competitors.

         22.    Defendants market, sell, and service GP HSMs for use by organizations across the

United States. Because GP HSMs are used to protect an organization’s most sensitive data, U.S.

customers require GP HSM suppliers to possess the demonstrated ability to provide both high-

quality GP HSMs and high-quality post-sales service and support in the United States.

         23.    A hypothetical GP HSM monopolist could profitably impose a small but

significant and non-transitory increase in price on GP HSM customers in the United States.

Accordingly, GP HSMs sold to U.S. customers is a relevant market for purposes of analyzing the

likely competitive effects of the proposed acquisition under Section 7 of the Clayton Act, 15

U.S.C. § 18.

    V.         ANTICOMPETITIVE EFFECTS OF THE PROPOSED ACQUISITION

         24.    Together, Thales and Gemalto dominate the GP HSM market in the United States.

Thales and Gemalto are the two leading providers of GP HSMs in the United States, with

individual market shares of approximately 30% and 36%, respectively, and a combined market

share of approximately 66%. Thales’ proposed acquisition of Gemalto likely would substantially

lessen competition and harm customers in the U.S. GP HSM market by eliminating head-to-head

competition between the two leading suppliers in the United States. The acquisition likely would

result in higher prices, lower quality, reduced choice, and reduced innovation. Thales’ proposed

acquisition of Gemalto would substantially increase market concentration in an already highly

concentrated market. The proposed acquisition violates Section 7 of the Clayton Act.

         25.    Thales and Gemalto currently compete head-to-head and their respective GP

HSMs are each other’s closest substitutes. Thales and Gemalto regularly approve significant

discounts on GP HSMs when competing against each other. Competition between the two
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companies has also spurred innovation in the past. Thales’ proposed acquisition of Gemalto

would eliminate this head-to-head competition and reduce innovation, in addition to significantly

increasing concentration in a highly concentrated market. As a result, Thales would emerge as

the clearly dominant provider of GP HSMs in the United States with the ability to exercise

substantial market power, increasing the likelihood that Thales could unilaterally increase prices

or reduce its efforts to improve the quality of its products and services.

                  VI.     ABSENCE OF COUNTERVAILING FACTORS

       26.     It is unlikely that any firm would enter the relevant product and geographic

markets alleged herein in a timely manner sufficient to defeat the likely anticompetitive effects

of the proposed acquisition. Successful entry in the development, marketing, sale, and service of

GP HSMs is difficult, time-consuming, and costly.

       27.     Any new entrant would be required to expend significant time and capital to

design and develop a series of GP HSMs that are at least comparable to Defendants’ GP HSM

product lines in terms of functionality and ability to interoperate with a wide range of encryption

solutions and IT resources. Moreover, a new entrant, as well as any existing GP HSM provider

seeking to expand and become a viable competitor in the supply of GP HSMs for use by

individual organizations in the United States in on-premises security solutions, would need to

spend significant time and effort to demonstrate its ability to provide quality GP HSMs for such

use and continuous, high-quality post-sales service in the United States. It is unlikely that any

such entry or expansion effort would produce an economically viable alternative to the merged

firm in time to counteract the competitive harm likely to result from the proposed transaction.

       28.     Defendants cannot demonstrate merger-specific, verifiable efficiencies sufficient

to offset the proposed merger's likely anticompetitive effects.



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                               VII.      VIOLATION ALLEGED

       29.     The United States incorporates the allegations of paragraphs 1 through 28 above.

       30.     The proposed acquisition of Gemalto by Thales is likely to substantially lessen

competition for the development and supply of GP HSMs in the United States in violation of

Section 7 of the Clayton Act, 15 U.S.C. § 18.

       31.     Unless enjoined, the proposed acquisition likely will have the following

anticompetitive effects, among others:

               (a)    actual and potential competition between Thales and Gemalto in the

       development, sale, and service of GP HSMs in the United States will be eliminated;

               (b)     competition in the development, sale, and service of GP HSMs in the

       United States in general will be substantially lessened;

               (c)    prices of GP HSMs will increase;

               (d)    improvements or upgrades to the quality or functionality of GP HSMs will

       be less frequent and less substantial;

               (e)    the quality of service for GP HSMs will decline; and

               (f)    organizations in the United States that require GP HSMs for use in on-

       premises security solutions will be especially vulnerable to an exercise of market power

       by the merged firm.

                               VIII. REQUEST FOR RELIEF

       32.     The United States requests that this Court:

               (a)    adjudge and decree that Thales’ proposed acquisition of Gemalto would be

       unlawful and would violate Section 7 of the Clayton Act, 15 U.S.C. § 18;

               (b)    permanently enjoin and restrain Defendants and all persons acting on their

       behalf from carrying out the December 17, 2017, agreement on a recommended all-cash

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offer by Thales to acquire all of the issued and outstanding ordinary shares of Gemalto, or

from entering into or carrying out any other contract, agreement, plan, or understanding,

or taking any other action, to combine Thales and Gemalto;

       (c)     award the United States its costs for this action; and

       (d)     award the United States such other and further relief as this Court deems

just and proper.




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                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 UNITED STATES OF AMERICA                                                        THALES S.A.
 U.S. Department of Justice, Antitrust Division                                  Tour Carpe Diem
 450 5th St. NW                                                                  31 Place des Corolles – CS 20001
 Washington, DC 20530                                                            92098 Paris La Defense Cedex, France
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________                                                          99999
                                                                                    COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                                                                                GEMALTO N.V.             (IN U.S. PLAINTIFF CASES ONLY)
                   (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                Barbara
                                                                                     NOTE:Strozzilaan    382 CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED
                                                                                           IN LAND CONDEMNATION

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                       Amsterdam,
                                                                                 ATTORNEYS (IFThe     Netherlands
                                                                                                 KNOWN)

 Kelly Schoolmeester                                                            1083  HN
                                                                                Thales: Elaine Ewing, Cleary Gottleib Steen & Hamilton LLP, 2112
 U.S. Department of Justice, Antitrust Division                                 Pennsylvania Avenue, NW, Washington, DC 20037, 202-974-1668
 450 5th St. NW, Suite 7100, Washington, DC 20530
                                                                                Gemalto: Daniel L. Wellington, Norton Rose Fulbright LLP, 799 9th
 202-598-2693
                                                                                St. NW, Suite 1000, Washington, DC 20001, 202-662-4574
 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                PTF        DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State       o1 o1             Incorporated or Principal Place    o4 o4
                                                                                                                  of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State    o2 o2             Incorporated and Principal Place   o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                  of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                o3 o3             Foreign Nation                     o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                     o      D. Temporary Restraining
                                   Malpractice                                    Review                                              Order/Preliminary
       410 Antitrust                                                                                                                  Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                               Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                             may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                              case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                        *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                             462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                    Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                           465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                    Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                 470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                       & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                  480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                  490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                       Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                      899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                           Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                  Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                 950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                           Statutes
                                            840 Trademark                                450 Commerce/ICC                          890 Other Statutory Actions
                                                                                             Rates/etc.                                (if not administrative agency
                                                                                         460 Deportation                               review or Privacy Act)
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  o    G. Habeas Corpus/                       o      H. Employment                                 I. FOIA/Privacy Act                         J. Student Loan
          2255                                        Discrimination

  I= 530 Habeas Corpus — General                =I 442 Civil Rights — Employment                   895 Freedom of Information Act           I= 152 Recovery of Defaulted
  =I 510 Motion/Vacate Sentence                         (criteria: race, gender/sex,           ED 890 Other Statutory Actions                       Student Loan
  =I 463 Habeas Corpus — Alien                          national origin,                               (if Privacy Act)                             (excluding veterans)
          Detainee                                      discrimination, disability, age,
                                                        religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          O      L. Other Civil Rights                    0 M. Contract                               o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                               EJ 110 Insurance
      710 Fair Labor Standards Act              I= 441 Voting (if not Voting Rights            I= 120 Marine                                     441 Civil Rights — Voting
      720 Labor/Mgmt. Relations                       Act)                                     EJ 130 Miller Act                                     (if Voting Rights Act)
  I= 740 Labor Railway Act                        443 Housing/Accommodations                        140 Negotiable Instrument
  1=1751 Family and Medical                       440 Other Civil Rights                       EJ 150 Recovery of Overpayment
          Leave Act                               445 Americans w/Disabilities —                       & Enforcement of
      790 Other Labor Litigation                      Employment                                       Judgment
      791 Empl. Ret. Inc. Security Act          11446 Americans w/Disabilities —                   153 Recovery of Overpayment
                                                      Other                                            of Veteran's Benefits
                                                  448 Education                                fJ 160 Stockholder's Suits
                                                                                               IJ 190 Other Contracts
                                                                                               1:=1195 Contract Product Liability
                                                                                                   196 Franchise


 V. ORIGIN
 0 1 Original        o 2 Removed 0 3 Remanded                      4 Reinstated 0 5 Transferred        0 6 Multi-district 0 7 Appeal to                  0 8 Multi-district
      Proceeding         from State  from Appellate                or Reopened      from another           Litigation         District Judge                 Litigation —
                         Court       Court                                          district (specify)                        from Mag.                      Direct File
                                                                                                                              Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Illegal acquisition in violation of Section 7 of the Clayton Act, as amended, 15 U.S.C. Section 18

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                                YES   FT NO
 VIII. RELATED CASE(S)                       (See instruction)                                                                   If       ase complete    .‘d case form
                                                                                 YES F-1                NO      K
       IF ANY

                                                   SIGNATURE OF ATTORNEY OF RECORD                     VAWAIMIERT.
                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

     The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

                      CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

                      CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk's Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
